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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
____________________________________
GLADYS ECHEGOYEN,                    :
                                     :
             Plaintiff,              :   Civil Action No. 15-6382 (KM) (MAH)
                                     :
       v.                            :                 ORDER
                                     :
U.S. STANDARD HOLDINGS TRUST :
LLC, d/b/a STANDARD HOLDINGS         :
MANAGEMENT, LLC, et al.,             :
                                     :
             Defendants.             :

       This matter having come before the Court on a telephone status conference on October

24, 2018;

       and for good cause shown;

       IT IS on this 24th day of October 2018,

       ORDERED as follows:

       1.     Any motion by Defendants to vacate default shall be filed by November 21, 2018.
              Any opposition shall be filed by December 3, 2018. Any reply shall be filed by
              December 10, 2018.

       2.     The parties shall meet and confer on the discovery deficiencies in Defendants’
              production.

       3.     There will be a telephone conference in this matter on January 8, 2019, at 11:00
              a.m. Plaintiff’s counsel will kindly initiate the conference.

       4.     Defense counsel will promptly update his address and contact information on the
              ECF system, in order to ensure timely receipt of all Court filings.


                                            s/ Michael A. Hammer
                                            UNITED STATES MAGISTRATE JUDGE
